AO 72A
(Rev.8/82)

 

Case 6:04-cV-01542-.]A-DAB Document 46 Filed 04/20/05 Page 1 of 7 Page|D 524

IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

DAWN GEORGETTE MYERS,
Plaintiff,
vs. CASE NO.: 6:04-cv-1542-Orl-28DAB

CENTRAL FLORIDA INVESTMENTS, INC.,
DAVID SIEGEL, WESTGATE RESORTS, INC.,
WESTGATE RESORTS, LTD., WESTGATE
LAKES, INC., WESTGATE LAKES, LTD.,

CFI SALES & MARKETING, LTD.,

MICHAEL MARDER, and GREENSPOON,
MARDER HIRSCHFELD RAFKIN ROSS

& BERGER, P.A.,

Defendants.

 

ORDER

Plaintiff, Dawn Georgette Myers, has filed an eleven-count Complaint against
Defendants she alleges to have been her employers claiming employment discrimination and
hostile work environment in violation of the Florida Civil Rights Act, Fla. Stat. § 760.01 et
seq., and Title VII, 42 U.S.C. § 2000e et seq. The Complaint also includes numerous Florida
state law claims. Defendants have moved to dismiss for failure to state a claim pursuant to
Rule lZ(b)(6) of the Federal Rules of Civil Procedure. For the reasons set forth below, the
motions to dismiss must be granted as to all counts except Counts 2 and 4, alleging gender
discrimination, and Counts 6 and 7, alleging battery and assault.

The list of Defendants includes David Siegel and certain business entities that Plaintiff
alleges he controlled. These entities are Central Florida lnvestments, Inc., CFI Sales &

Marketing, Ltd., Westgate Resorts, Inc., Westgate Resorts, Ltd., Westgate Lakes, Inc.,

 

 

Ao 72A
(Rev.a/ez)

 

Case 6:04-cV-01542-.]A-DAB Document 46 Filed 04/20/05 Page 2 of 7 Page|D 525

Westgate Lakes, Ltd. (“employer Defendants”). The remaining Defendants are Michael
Marder and Greenspoon Marder Hirschfeld Rafkin Ross & Berger, P.A., (“the law firm”).
Marder and the law firm are attorneys who represented the employer Defendants. Counts 2 and
4 of the Complaint allege the employer Defendants engaged in gender discrimination in
violation of the Florida Civil Rights Act, Fla. Stat. § 760.01 et seq., and Title VII, 42 U.S.C. §
2000e et seq., respectively. Counts 3 and 5 of the Complaint accuse the employer Defendants
of maintaining a hostile work environment in violation of the same state and federal statutes.
The state law claims include abuse of process (Count l), battery (Count 6), assault (Count 7),
slander (Count 8), malicious prosecution (Count 9), conspiracy (Count lO), and statutory
attorney’s fees (Count ll).
I. BACKGROUND
The alleged facts relevant to the instant motions, which must be accepted as true for

purposes of considering a motion to dismiss, Scheuer v. Rhodes 416 U.S. 232, 236 (1974), are

 

as follows. Myers was employed by Defendant David Siegel and at least one of the employer
Defendants. Plaintiff alleges that during her term of employment Siegel sexually harassed her.
Speciflcally, Plaintiff complains that during 1999 and 2000, Siegel’s wife Jacqueline Siegel,
repeatedly solicited Plaintiff to engage in sexual activity with the Siegels, referred to in the
Complaint as a menage a trois. (Am. Compl. 111 30, 31 .) During Plaintiff`s “last few years of
employment,” Siegel himself also made sexual propositions to Plaintiff and threatened to have
physical sexual contact with Plaintiff. (Am. Compl. 1HI 33, 34.) On multiple occasions during

2000, Siegel rubbed, touched, and kissed Plaintiff. (Am. Compl. 11 34.)

 

 

Case 6:O4-cV-01542-.]A-DAB Document 46 Filed 04/20/05 Page 3 of 7 Page|D 526

Plaintiff’s employment was involuntarily terminated on December l3, 2000. Several
years later, Defendant Central Florida Investments, Inc. (“CFI”) sued Plaintiff in state court for
payment on an $8,000 promissory note.l Myers raised counterclaims, which prompted CFI to
remove the case to this court. (Am. Comp. 11 42.) Following the removal, the case was then
remanded to state court. Thereafter, CFI voluntarily dismissed its suit on the promissory note.
According to Plaintiff, she had earlier paid the amount due on the promissory note, and the suit
was filed for the pupose of further harassing and embarrassing her. (Am. Compl. 11 11 l.)

Following the dismissal, Myers again filed her claims in state court seeking relief
against Defendants. Defendants then removed the case to this Court. Thereafter, Plaintiff filed
her Amended Complaint, which is presently pending before this Court and is the subject of
Defendants’ motions to dismiss.

II. DISCUSSION
A. Motion to Dismiss

To warrant dismissal under Rule l2(b)(6) of the Federal Rules of Civil Procedure, it

must be “clear that no relief could be granted under any set of facts that could be proved

consistent with the allegations.” Blackston v. Alabama 30 F.3d ll7, 120 (l lth Cir. 1994)

 

(quoting Hishon v. King & Spalding, 467 U.S. 69, 73 (1984)). In determining whether to grant
a motion to dismiss, a court must accept all the factual allegations in the complaint as true and

consider all reasonable inferences derived therefrom in the light most favorable to the plaintiff.

 

' On September 25, 2001, Defendants filed a separate state court suit against Myers for “claims arising
out ost. Myers’ compensation as Siegel’s employee.” (Am. Compl., 11 38.) 'l`his suit is still pending and has no
bearing on the instant action.

Ao 72A
(Rev.a/az)

 

 

 

AO 72A
(Rev.8/82)

 

Case 6:O4-cV-01542-.]A-DAB Document 46 Filed 04/20/05 Page 4 of 7 Page|D 527

Scheuer v. Rhodes 416 U.S. 232, 236 (1974); Jackson v. Okaloosa Co.. Fla.. 21 F.3d 1531,

 

1534 (1 lth Cir. 1994); Hunnings v. Texaco, Inc., 29 F.3d 1480, 1484 (11th Cir. 1994).
B. FCRA and Title VII Claims of Disparate Treatment (Counts 2 and 4)

ln his Motion to Dismiss, Defendant Siegel argues that Plaintiff cannot maintain actions
for gender discrimination or hostile work environment against him personally, because the
Complaint describes him as Plaintiff’s supervisor. Supervisors generally cannot be held liable
for violations of Title VII’s ami-discrimination prohibitions See Busbv v. Citv of Orlando,
931 F.2d.764, 772 (1 lth Cir. 1991). On the other hand, a supervisor who is also the plaintiff’s
employer may be liable as an employer for his or her illegal conduct. § Sparks v. Pilot
Freight Carriers, Inc., 830 F.2d 1554, 1557-58 (l lth Cir. 1987). Plaintiff properly alleges that
“Siegel” is a “covered employer” subject to suit, (Am. Compl. 1[{[ 58, 70), and this allegation
fulfills the basic requirements of notice pleading, Fed. R. Civ. Pro. 8(a). Siegel’s actual
employer status may be examined in discovery.

C. FCRA and Title VII Claims of Hostile Work Environment (Counts 3 and 5)

Plaintiff alleges sufficient facts regarding the hostile work environment created by
sexual harassment attributed to the employer Defendants. (Am. Compl. 111 33-34.) §
Swierkiewicz v. Sorema. N. A., 534 U.S. 506, 513 (2002). Defendants, however, move to
dismiss Counts 3 and 5 because Plaintiff has failed to file a timely claim. To make a viable
claim for hostile work environment, an employee must file an employment discrimination
charge with the Equal Employment Opportunity Commission within 300 days from the time

when the unlawful employment practice occurred. 42 U.S.C. § 2000€-5(€)(1). Failure to do so

 

 

AO 72A
(Rev.8/82)

 

Case 6:O4-cV-Ol542-.]A-DAB Document 46 Filed 04/20/05 Page 5 of 7 Page|D 528

will result in dismissal ofthe claim. See e.g., E.E.O.C. v. Joe’s Stone Crabs, Inc., 296 F.3d
1265, 1271 (11th Cir. 2002).

Plaintiff has failed to allege any instance of sexual harassment occurring within 300
days of the filing of her EEOC complaint, as required by 42 U.S.C. § 2000e-5(e)(1). Indeed, it
appears Plaintiff has been deliberately vague in describing when offensive events upon which
these claims are based occurred. Whether this is fatal to Plaintiff’ s claims is unclear. This
confusion is compounded because when “an act contributing to the claim occurs within the
filing period, the entire time period of the hostile environment may be considered by a court for
the purposes of determining liability.” Nat’l R.R. Passenger Com. v. Morgan, 536 U.S. 101,
117 (2002). Therefore, Counts 3 and 5 shall be dismissed without prejudice.

C. State Law Claims
1. Jurisdiction

Section 1367 of Title 28 of the United States Code provides that when a district court
has original jurisdiction over an action, the court “shall have supplemental jurisdiction over all
other claims that are so related to claims in the action within such original jurisdiction that they
form part of the same case or controversy.” 28 U.S.C. § 1367(a). A district court may decline
jurisdiction over a state law claim if the claim raises a novel or complex issue of state law,
substantially predominates over the federal claim, or there are other compelling reasons for

declining jurisdiction 28 U.S.C.A. § l367(c); see also United Mine Workers of Am. v. Gibbs.

 

383 U.S. 715, 726-27 (1966).
Plaintiff’s state law claims for abuse of process, slander, malicious prosecution,

conspiracy, and attorney’s fees all arise from CFI’s allegedly baseless state court suit on the

 

 

Ao 72A
(Rev.a/az>

 

Case 6:O4-cV-Ol542-.]A-DAB Document 46 Filed O4/20/O5 Page 6 of 7 Page|D 529

promissory note. These claims do not implicate Plaintiff"s claims for employment
discrimination, and they run the risk of predominating over Plaintiff’s employment
discrimination claims. Furthermore, the claims raise novel and complex issues of state law not
suitable for this Court’s determination “Needless decisions of state law should be avoided
both as a matter of comity and to promote justice between the parties, by procuring for them a

surer-footed reading of applicable law.” Gibbs, 383 U.S. at 726.

 

The Court will retain jurisdiction over Plaintiff" s assault and battery claims. The events
forming the basis of Plaintiff’ s employment discrimination claims include the events that
underlie her claims for assault and battery, and the available damages are the same. §§ 42
U.S.C. 1981a(a)-(b) (authorizing compensatory and punitive damages in certain Title VII
suits). The theories underlying the assault and battery claims are not novel or complex, nor
will these claims predominate over the federal claims. Indeed, principles of economy,
convenience, and fairness would be better served by retaining jurisdiction over these claims.
CitV of Chicago v. Int’l Coll. of Surgeons. 522 U.S. 156, 172-73 (1997) (noting that these
principles provide justification for supplemental jurisdiction).

2. Motion to Dismiss Assault and Battery Claims

Siegel’s motion to dismiss Plaintiff" s assault and battery claims must be denied.
Plaintiff alleges unwelcome and offensive contact within the four-year statute of limitations.
(Am. Compl., 1111 79, 85.) Plaintiff also adequately identifies and describes instances of contact
occurring “prior to May 20, 2000, to the weekend before Halloween 2000.” (Am. Compl. 11

34.) Also, the Court exercises its discretion to retain jurisdiction over these state law claims

 

 

AO 72A
(Rev.8/82)

Case 6:O4-cV-Ol542-.]A-DAB Document 46 Filed O4/20/O5 Page 7 of 7 Page|D 530

pursuant to 28 U.S.C.A. § 1367(c) because they appear to be intricately intertwined with the
Title VII and FCRA claims.
III. CONCLUSION
For the foregoing reasons, it is ORDERED and ADJUDGED as follows:
(1) Defendants’ motions to dismiss Plaintiff’s amended complaint for failure to state a
claim (Docs. 22, 23, and 24) are GRANTED IN PART and DENIED IN PART as
follows:
(a) Plaintiff’s state law claims for abuse of process (Count) 1, slander (Count 8),
malicious prosecution (Count 9), conspiracy (Count 10), and attomey’s fees
(Count 11) are DISMISSED because the Court declines supplemental
jurisdiction;
(b) Plaintiff” s FCRA and Title Vll hostile work environment claims (Counts 3
and 5) are DISMISSED with leave to amend. T his will be Plaintij" ’s final
opportunity to amend her Complaint;
(c) Defendants’ motions are DENIED as to all other Counts.
(2) Defendants’ motion for a more definite statement (Doc. 25) and Plaintiff’s motion
for summary judgment on Count 11 (Doc. 32) are DENIED AS MOOT

DONE and ORDERED in Orlando, loridaF on this #ay of Ap l, 2005

 

Jo NToloN/ 1 M’
D sTATEs DISTRICT JUDGE

Copies furnished to:
Counsel of Record

 

 

 

